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Reaves C. Lukens Company

REAL ESTATE APPRAISERS AND CONSULTANTS
1626 Spruce Street, Philadelphia, Pennsylvania 19103 © (215) 545-1900 © Fax: (215) 545-8548

June 2, 2009

Ciardi Ciardi & Astin, P.C.

One Commerce Square

2005 Market Street, Suite 1930

Philadelphia, PA 19103 \

Attn: Albert A. Ciardi, II, Esquire

RE; Summary Appraisal Report
Heritage at Highgate
SS Mosser Road & Ilighgate Avenue
Breiningsville, PA 18031
Upper Macungie Township
Lehigh County, PA
Account No. 09012

Dear Mr, Ciardi:

In accordance with your request, we have appraised the captioned property and our findings
are presented in a Summary Appraisal Report format under Standards Rule 2-2(b) of Uniform
Standards of Professional Appraisal Practice (USPAP). As such, it presents summary discussion of
the data, reasoning, and analysis of applicable approaches to value that were used in the appraisal
process to develop the appraisers’ opinion of value. Supporting documentation concerning the data,

reasoning and analyses is retained in our file.

After considering all factors, it is our opinion and we hereby certify that the market value of
the fee simple interest in the subject property, more fully described herein, as of February 21, 2009,

was as follows:

TOWNHOUSE (TH) PHASES I & III
~FOUR MILLION EIGHT HUNDRED THOUSAND DOLLARS -

$4,800,000
TH PHASE I AS IS
-TWO MILLION TWO HUNDRED THOUSAND DOLLARS -

$2,200,000
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Albert A. Ciardi, Hl Esquire
Junie 2, 2009 / _

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TH PHASE IE AS [F IMPROVED (as or JANUARY 1, 2010,.4 PROSPECTIVE VALUE FROM THE PERSPECTIVE OF
FEBRUARY 21, 2009)

-FOUR MILLION TWO HUNDRED THOUSAND DOLLARS -

$4,200,000

SINGLE FAMILY (SF) PHASES 1 & HI
-SIX MILLION NINE HUNDRED THOUSAND DOLLARS -

$6,900,000

SF PHASE ITI
-ONE MILLION ONE HUNDRED THOUSAND DOLLARS -

$1,100,000

Please note that our value conclusions are subject to certain significant assumptions regarding
the physical composition, legal status, and economic history of the subject property. These key
assumptions are detailed under the "Assumptions, Limiting Conditions, and Contingencies" section
of this report. We reserve the right to alter our analysis and value conclusions should any of these

assumptions prove to be inaccurate.

Thank you for the opportunity to be of service and, we look forward to serving you again in

the future.

Sincerely,

REAVES C. LUKENS COMPANY
4

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Richard F. Wolf /
MAI, CRE

PA General Appraiser No. GA-0015 14-1,

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Reaves C. Lukens, Ir.
MAI, SRA, CRE
PA General Appraiser No. GA-00034 1-1

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ADDENDUM

QUALIFICATIONS OF THE APPRAISERS
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HERCrAGE HIGHGATE EXECUTIVE SUMMARY

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DEVELOPMENT INVENTORY
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Heritaye Highgate

Property:
SS Mosser Road & Highgate
Breiningsville, PA 18031
Upper Macungie Township
Lehigh County, PA

Tax Parcel [D: K6, Block 5, Lots 2, 4 & 10

GIS Numbers: $454-8928-5092-|

5454-8898-9824-}
5454-9714-4251-1

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HERITAGE HIGHGATE

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EXECUTIVE SUMMARY

Iuspected By:

Inspection Date:

Property Rights Appraised:
Date of Valuation:

Land Area:

Number of Building Lots in community:

Number of Building Lots Appraised:
TH PHASES I & Ill
TH PHASE IT
SF PHASES | & II
SF PHASE III
Zoning:
Highest and Best Use:
Client:

Intended User:
Intended Use:
Purpose of the Assignment:

Type of Value Estimate;

Market value is defined as follows:

Reaves C. Lukens, Jr.
Richard F. Wolf

February 21, 2009

Fee Simple Interest

February 21, 2009

138+ Acres

185 Single Family Detached Lots

226 Single Family Attached Lots
411 Total Single Family Lots

53
108
92
53

R3, Residential
Residential Development
Ciardi Ciardi & Astin, P.C.

Ciardi Ciardi & Astin, P.C. as counsel for the property
owner

The intended use of the report is to provide guidance
in connection with bankruptcy proceedings.

To develop an opinion of the market value of the
subject as of a current date.

Market Value

"The most probable price which a property should bring in a competitive and open market
under all conditions requisite to a fair sale, the buyer and seller, each acting prudenily,
knowledgeably and assuming the price is not affected by undue stimulus.

Implicit in this definition is the consummation ofa sale as ofa specified date and the passing
of title from seller to buyer under conditions whereby:

REAVES C, LUKENS COMPANY

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HERITAGE HIGHGATE EXECUTIVE SUMMARY

(1) buyer and seller are typically metivated:

(2) both parties are weil informed or well advised, and acting in what they consider their
best interest;

(3) areasonable time is allowed for exposure in the open market;

(4) payment is made in terms of cash in U. S. dollars or in terms of financial arrangements
comparable thereto; and

(5) the price represents a normal consideration for the property sold unaffected by special or
creative financing or sales concessions granted by anyone associated with the sale.”

Appraised Value:
TH PHASES [ & II $4,800,000
TH PHASE I $2,200,000
TH PHASE II (as improved) $4,200,000
SF PHASES I & fl $6,900,000
SF PHASE Ill $1,100,000
Unit of Comparison:
TH PHASES | & II $90,566 per lot (including improvements)
TH PHASE II $20,370 per lot (approved/unimproved)
TH PHASE II (as improved) $38,889 per lot (approved/improved)
SF PHASES I & I $75,000 per lot (including improvements)
SF PHASE Ml $20,755 per lot (approved/unimproved)
Extraordinary Assumptions: None

In one valuation scenario we were asked to assume all
of the infrastructure was in place for TH Phase II as of
January |, 2010 a prospective value.

Hypothetical Conditions:

Intended Exposure Time: {2 months

Exposure Time is defined as follows:

“I. The time a property remains on the market. 2, The estimated length of time the property
interest being appraised would have been offered on the market prior to the hypothetical
consummation of a sale at market value on the effective date of the appraisal: a retrospective
estimate based on an analysis of past events assuming a competitive and open market.
Exposure time is always presumed to occur prior to the effective date of the appraisal..."*

‘The Dictionary of Real Estate Appraisal Fousth Editioe. Page No. 178, Appraise! tnstitute, 2002

ih Fdition,, Page No. 105, Appraisal lnstiaute, 2002

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HERITAGE HIGHGATE EXECUTIVE SUMMARY

Scope of Work:

In preparing this appraisal, Reaves C. Lukens Company completed the following tasks:

- Richard F, Wolf and Reaves C. Lukens, Jr. inspected the subject site, improvements, and
surrounding environs on February 21, 2009;

- Interviewed Mr. Charles C. Sturges, III, CFO of Heritage Building Group, Mr. Richard
Carroll, President of Heritage Building Group, Mr. Paul Commito of AMC Delancey
Group, Inc., Mr. Edward Ritti of the Land Development Group, Mr. Thomas King IV,
PA Land Manager for NVR Ryan Homes and others regarding the state of the residential
market and the appeal of the subject property land and improvements;

- Interviews sales representatives from the following competitive subdivision
developments; Graymoor by Pulte Homes, Coldwater Crossing by Pulte Homes, Lehigh
Crossing by Toll Brothers, Whitfield Estates by TH Properties, the Vineyard by Castle
Builders, Laurel Field by Kay Builders, Terrace at Lehigh by Ryan Homes and Spring
Ridge Crossing by Judd Builders. We have also interviewed Mr. Zsolt Varkony, sales
manager of Heritage Highgate Manors, and Mr. David DeMilio, sales manager of
Heritage Highgate Villas regarding the subject property.

- Interviewed Bruce Wlazelek Township officials including the Zoning Officer regarding
the subject;

- Researched ongoing transactions of the residential community developments and

developed absorption rates;
Reviewed published sources and business periodicals for information regarding the

subject property and the current residential market;

- Gathered information on recent sales of property comparable to the subject, including
sales of SFD lots, bulk land and Letters of Intent (LOD ; ,

- Confirmed all comparable sales and with public records and at least one of the parties to

the transaction;
- Analyzed the data collected and applied the Sales Comparison Approach and the Income

Capitalization Approach.

Report Option:

This report is a Summary Appraisal Report in accordance with Standards Rule 2-2(b) of the Uniform
Standards of Professional Appraisal Practice, As such, it presents sufficient information to enable
the client and other intended users, as identified, to understand it properly.

Acknowledgements:

We wish to acknowledge the contribution made to this report by Richard A. Hideck and Andrew M.
Friedman. Working under our direction, Mr. Hideck assisted in collecting comparable sale data. Mr.
Friedman assisted in the Market Analysis section of this appraisal effort.

REAVES C. LUKENS COMPANY PAGE NO.7
